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Rebekah R. Conroy
rconroy@stoneconroy.com




                                                       March 25, 2025
Via ECF
Honorable Evelyn Padin, U.S.D.J.
United States District Court
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

               Re:     Novartis v. Novadoz et als.
                       Civil Action No. 2:25-cv-00849-EP-JRA

Dear Judge Padin:

         We, along with our co-counsel at Daignault Iyer LLP and Jenner & Block LLP, represent
Defendants Novadoz Pharmaceuticals LLC, MSN Pharmaceuticals Inc., MSN Laboratories Private
Limited (collectively, “MSN”) in the above matter. We write to provide a brief response to Novartis’s
letter of March 25, 2025 (ECF 38) responding to MSN’s letter for March 24, 2025 (ECF 36) regarding the
briefing schedule on MSN’s motion to stay the preliminary injunction (ECF 37).

       First, MSN’s letter did not state that it was, or otherwise purport to be, a joint letter. It simply
accurately reported Novartis’s position as it was conveyed to MSN. Nonetheless, we apologize for any
misunderstanding in this regard.

         Second, Novartis misrepresents the status of the parties’ patent litigation. While the Federal Circuit
held that Novartis’s ’659 patent is valid, it also held that the patent does not cover sacubitril-valsartan
complexes like Entresto as a matter of law. See In re Entresto, 125 F.4th 1090, 1099 n.5 (Fed. Cir. 2025)
(“Because valsartan-sacubitril complexes were undisputedly unknown at the time of the invention,
the ’659 patent could not have been construed as claiming those complexes as a matter of law.” (citations
omitted)). Because Novartis’s ’659 patent does not cover Entresto, Novartis is not entitled to pediatric
exclusivity blocking the launch of MSN’s generic drug product. After the mandate issues in the patent
litigation, there will be no basis for the Delaware district court to further enjoin MSN. At that time (within
seven days), this Court’s preliminary injunction will be the only legal bar preventing MSN from launching
its product, further underscoring the need for expedited briefing on MSN’s motion to stay the preliminary
injunction.

       We appreciate the Court’s attention to this matter.




                                                                                              Stone Conroy LLC
                                                                                    25A Hanover Road, Suite 301
                                                                                Florham Park, New Jersey 07932
                                                                             Tel 973 400 4181 Fax 973 498 0070
                                                                                          www.stoneconroy.com
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                                                    Respectfully submitted,

                                                    /s/ Rebekah Conroy
                                                    Rebekah Conroy

   cc: Counsel of Record via ECF




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